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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA

LYNN A. PARISI,

      Plaintiff,
                                       CASE NO.: 8:11-cv-00204-VMC-AEP

              v.

ENCORE RECEIVABLE MANAGEMENT, INC.,
    Defendant.
_________________________________________/

            PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                          WITH PREJUDICE

      Having amicably resolved all matters in controversy and pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntary dismisses this action

with prejudice.




                                       Respectfully submitted,

                                       DONALD A. YARBROUGH, ESQ.
                                       Attorney for Plaintiff
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                                       s/Donald A. Yarbrough
                                       Donald A. Yarbrough, Esq.
                                       Florida Bar No. 0158658
Case 8:11-cv-00204-VMC-AEP Document 3 Filed 03/16/11 Page 2 of 2 PageID 10




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               v.

ENCORE RECEIVABLE MANAGEMENT, INC.,
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_______________________________/

                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 16, 2011, I certify that the foregoing
document is being served this day on all counsel of record or pro se parties identified on
the attached Service List in the manner specified.

                                                 s/Donald A. Yarbrough
                                                 Donald A. Yarbrough, Esq.


                                    SERVICE LIST

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